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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

  UNITED STATES OF AMERICA                                 §
                                                           §
  v.                                                       §      NO. 4:11CR03
                                                           §      (Judge Schell)
  ARTURO CAVAZOS-DELUNA (2)                                §


                               NOTICE OF PLEA AGREEMENT

  TO THE HONORABLE RICHARD SCHELL, UNITED STATES DISTRICT JUDGE
  FOR THE EASTERN DISTRICT OF TEXAS:

         COMES NOW the United States of America, through the undersigned Assistant

  United States Attorney, and files this NOTICE OF PLEA AGREEMENT in the above

  entitled case, and in support thereof would show this court the defendant, ARTURO

  CAVAZOS-DELUNA, his counsel of record, FRANK PEREZ and the United States

  reached a written plea agreement in the above entitled matter. Accordingly, the parties

  respectfully request that the court schedule a hearing for a change of plea.

                                                    Respectfully submitted,

                                                    JOHN M. BALES
                                                    United States Attorney


                                                    /s/
                                                    HEATHER RATTAN
                                                    Assistant United States Attorney




  NOTICE OF PLEA AGREEMENT 1
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                                     Certificate of Service


          I hereby certify a true and correct copy of the foregoing was served by electronic
  filing by CM/ECF to FRANK PEREZ on this the 6th day of February, 2012.



                                                   /s/
                                                   Heather Rattan




  NOTICE OF PLEA AGREEMENT 2
